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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

IN THE MATTER OF APPLICATION FOR :
ADMISSION TO PRACTICE IN THIS COURT :

PETITION

—_— oy
| | OS nh \ : tueod , hereby petition the United States District
Court for the Middle District of Pennsylvania to admit me to practice before that Court. In
support of my petition, | state as follows:

My office address is: Sheldon & Hood , PLC
(0621 sJonos St. Ste. Sol-A
Fearfaxn NA 22080

Office Telephone: (~703) 69) — BUC

| was admitted to practice before the Courts listed below on the date shown after
the name of each Court, and ! am currently a member in good standing of all those Courts.

ma Dupre wre. Cour Cu /94) ~ New Yor h- Appellate
Divisow leuvth PD pt (& fab) 5 Viva inte, Sern

Cart Cu (os)

My attorney Identification number is: _ VV PR Tbe

 

‘EOR COURT USE ONLY
_ GENERAL ADMISSION:
GRANTED BY THE COURT: Date:

__-SPECIAL ADMISSION:
GRANTED BY THE COURT _ Cate:

 

 

 
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Piease Answer the Following Questions:

All occasions, if any, on which | have been convicted of a crime (subsequent to my
becoming an attorney), censured, suspended, disciplined or disbarred by any court are set
forth as follows: (State the facts and circumstances connected with each; if none, state

“none”.)
N/e

 

 

All occasions, if any, on which | have been held in contempt of court are set forth
as follows: (State the nature and final disposition of contempt; if none, state “none”.)

| do , do not vw have any disciplinary action, contempt or other
proceedings involving me pending before any court. (Check the appropriate space.) If
there are pending proceedings, please explain:

 

 

| am seeking:
General Admission under Local Rule LR 83.8.1
wv Special Admission (specify by a check which rule) under
LR 83.8.2.1 | LR 83.8.2.2 __, LR 83.8.2.3 __, or LR 83.8.2.4 __

If seeking special admission under Local Rules LR 83.8.2.1, LR 83.8.2.2, LR 83.8.2.3, or
LR 83.8.2.4, the basis for my admission under the designated rule is as follows:

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Counsel  duvcudut to lb USC 8 Zoos because Ws ka

NAME THE PARTY YOU REPRESENT: ved

Kevin Coles

 

if special admission is requested for a particular case, please list case number and caption:
Case # sth ~CR- 212
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| understand that:

1) If seeking admission under Section LR 83.8.2.2, LR 83.8.2.3, or 83.8.2.4,
| must submit a letter from a superior stating the agency with which | am
employed and the duties performed which qualify me for admission under
those sections.

2) If petitioning for admission, only in a particular case, under Rule LR 83.8.2.1,
| need no sponsor's certificate. Any attorney specially admitted under LR
83.8.2.1, shall, In each proceeding in which he or she appears, have
associate counsel who is generally admitted under Local Rule 83.8.1 to
practice in this court, whose appearance shall also be entered of record and
upon whom all pleadings, motions, notices, and other papers may be served
in accordance with any statute or applicable rule. The attendance of any
such associate counsel upon the hearing of any motion or the taking of any
testimony shall be sufficient appearance for the party or parties represented
by such associate counsel. Either the specially admitted attorney or
associate counsel must be fully prepared to participate in any hearings,
arguments, conferences and trials. (See LR 83.9)

if special admission is requested for a particular case, please list the name,
address, telephone number and bar identification number of associate
counsel to be entered of record in the case:

 

 

 

3) if seeking general admission under Rule LR 83.8.1, | must be a member of
the bar of the Supreme Court of Pennsylvania and have a sponsor who is a
member in good standing of the Bar of this Court present to move for my
admission and | must submit the sponsor's certificate with my petition.

CN). }
‘Cle
VA TNWNG

(Bar Identification Number and State where admitted)
zha\lia

 

 

(Date)

By signing this petition for admission, | acknowledge that | have read the attached
Middle District of Pennsylvania Code of Professional Conduct and agree to subscribe to
the standards set forth in the Code.

NAME OF PETITIONER —— Jesepn \. Flood,
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UNITED STATES DISTRICT COURT
FOR THE
MIDDLE DISTRICT OF PENNSYLVANIA

CODE OF PROFESSIONAL CONDUCT

As a member of the Bar of the United States District Court for the Middle District
of Pennsylvania, | will strive for the following professional ideal:

1. The rule of law will govern my entire conduct. | will not violate the law or place myself
above the law.

2. | will treat with civility and respect the lawyers, clients, opposing parties, the court and all
the officials with whom | work. Professional courtesy is compatible with vigorous
advocacy and zealous representation. Even though antagonism may be expected by
my client, itis not part of my duty to my client.

3. | will respect other lawyers’ schedules as my own, and will seek agreement on meetings,
depositions, hearings, and trial dates. A reasonable request for a scheduling
accommodation should never be unreasonably refused.

4. Communications are life lines. | will keep the lines open. Telephone calls and
correspondence are a two-way channel; | will respond to them promptly.

5. | will be punctual in appointments, communications and in honoring scheduled
appearances. Neglect and tardiness are demeaning to others and to the judicial
system.

6. | will earnestly attempt to resolve differences through negotiation, expeditiously and

without needless expense.

7. Procedural rules are necessary to judicial order and decorum. | will be mindful that
pleadings, discovery processes and motions cost time and money. | will not use them
heedlessly. If an adversary is entitled to something, | will provide it without unnecessary
formalities.

8. | will not engage in conduct that brings disorder or disruption to the courtroom. | will
advise my client and witnesses appearing in court of the proper conduct expected and
required there and, to the best of my ability, prevent my client and witnesses from
creating disorder or disruption.

9, Before dates for hearings or trials are set, or if that is not feasible immediately after such
date has been set, | will attempt to verify the availability of necessary participants and
witnesses so | can promptly notify the court of any likely problems.

| agree to subscribe to the above
Code of Professional Conduct:

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